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UNITED STATES OF AMERICA,
            v.                        CRIMINAL NO. 2007-10069-RGS-02
HONG HAK,
        Defendant.


             MEMORANDUM AND ORDER

COLLINGS, U.S.M.J.
      The above-listed defendant was arraigned before me on March 9, 2007.
Accordingly, the case shall proceed pursuant to the amendments to the Local
Rules which became effective December 1, 1998. Further, unless counsel for
the defendant files a Waiver of Request for Disclosure within fourteen (14)
days, the twenty-eight (28) day period specified in Local Rule 116.1(C) and (D)
(eff. 12/1/98) and the forty-two (42) day period specified in Local Rule
116.3(A) (eff. 12/1/98) shall commence to run on March 9, 2007.
      Counsel are ORDERED to appear for an Initial Status Conference on
TUESDAY, APRIL 24, 2007 AT 2:30 P.M. at Courtroom #23 (7th floor), John
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Joseph Moakley United States Courthouse, Boston, Massachusetts before the
undersigned.


                                    /s/ Robert B. Collings
                                    ROBERT B. COLLINGS

                                    United States Magistrate Judge



March 23, 2007.




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